              Case 2:18-cr-00315-RAJ Document 338 Filed 12/15/21 Page 1 of 2




 1                                                                The Honorable Richard A. Jones
 2
 3
 4
 5
 6
 7                           UNITED STATES DISTRICT COURT FOR THE
                               WESTERN DISTRICT OF WASHINGTON
 8
                                         AT SEATTLE
 9
10 UNITED STATES OF AMERICA,                         No. CR18-315 RAJ
11                                  Plaintiff,
                                                     GOVERNMENT’S PROPOSED
12                          v.                       REDACTIONS TO
                                                     GOVERNMENT’S RESPONSE
13 GIZACHEW WONDIE,                                  TO UNSEALING REQUEST,
                                                     DKT. 327
14                                  Defendant.
15
16          On December 2, 2021, this Court issued an order denying the government’s motion to
17 seal its response to the defendant’s motion to unseal. Dkt. 326, 334. In its order, this Court
18 directed the government to file a redacted version of its response to the defendant’s motion.
19 Dkt. 334, at 4.
20          The attachments to the government’s response brief included unredacted versions of
21 the Court’s orders that the Court will be now be publicly filing with redactions. Dkt. 327, Ex.
22 A, B. Additionally, the attachments included declarations from Senior Deputy Prosecuting
23 Attorney Scott O’Toole and Detective John Free describing an ongoing homicide
24 investigation and providing details that are not “generic information [that] has been publicly
25 disclosed.” Dkt. 327, Ex. C, D; Dkt. 334, at 3. Accordingly, the government understood the
26 Court’s order to apply to the government’s brief, not the attachments. The government does
27 not propose any redactions to its brief filed at Dkt. 327. It may be unsealed.
28

     Government’s Proposed Redactions to Dkt. 327                          UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
     United States v. Wondie, CR18-315 RAJ - 1
                                                                            SEATTLE, WASHINGTON 98101
                                                                                  (206) 553-7970
              Case 2:18-cr-00315-RAJ Document 338 Filed 12/15/21 Page 2 of 2




1           If the Court’s order encompassed the attachments to its brief—the proposed orders
2 and/or the declarations—the government respectfully requests such clarification and an
3 additional few days to provide proposed redactions to those documents.
4
5           Dated this 15th day of December, 2021.
6
                                                     Respectfully submitted,
7
8                                                    NICHOLAS W. BROWN
                                                     United States Attorney
9
10                                                   /s/ Erin H. Becker
                                                     Erin H. Becker
11
                                                     Assistant United States Attorney
12                                                   United States Attorney’s Office
                                                     700 Stewart Street, Suite 5220
13
                                                     Seattle, Washington 98101-1271
14                                                   Phone: 206-553-2905
                                                     E-mail: erin.becker@usdoj.gov
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     Government’s Proposed Redactions to Dkt. 327                         UNITED STATES ATTORNEY
                                                                         700 STEWART STREET, SUITE 5220
     United States v. Wondie, CR18-315 RAJ - 2
                                                                           SEATTLE, WASHINGTON 98101
                                                                                 (206) 553-7970
